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VIA ECF
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Hon. Leo M. Gordon                                                 Direct Dial: +1 212 827 4019
United States District Court                                       RMastro@kslaw.com
District of New Jersey
2 Federal Square
Newark, NJ 07102

       Re:     State of New Jersey v. U.S. Dep’t of Transportation et al., No. 2:23-cv-03885

Dear Judge Gordon:

        We write on behalf of the State of New Jersey to request a one-month extension of our time
to respond to the FHWA’s 250-page submission, filed last Friday—including a Notice of
Compliance with Court’s Remand Order and Explanation of Supplemental Memorandum (“Notice
of Compliance”), Supplemental Memorandum, and Appendices A and B to the Supplemental
Memorandum (see ECF No. 218)—from January 29, 2025, to and including February 28, 2025.
The FHWA’s submission includes newly-submitted evidence of the post-FONSI approach of the
FHWA and Project Sponsors (the MTA) to mitigation (see, e.g., ECF No. 218-3)—the critical
issue on which this Court ordered a remand—as well as additional information on the phase-in
approach announced in November 2024 and a 15-page Notice of Compliance, which, in fact, is a
brief in support of the FHWA’s position not contemplated by the Court’s December 30, 2024
decision ordering this remand (see ECF No. 191 at 72), to which we will now also have to respond.

        Pursuant to the Court’s remand order, New Jersey’s comments responding to the FHWA’s
submission of last Friday are due a week from today on January 29, which is less time than the
FHWA received to submit its comments in the first instance. See ECF No. 191 at 72. In light of
the FHWA’s improper submission of a 15-page opening brief, Supplemental Memorandum and
accompanying appendices, totaling nearly 250 pages, and the newly-submitted evidence of the
post-FONSI approach of the FHWA and MTA on mitigation, New Jersey respectfully requests:
(1) an extension of the deadline for New Jersey to submit comments from January 29, 2025 to
February 28, 2025; and (2) an increase in the page limit for those comments from 15 pages to 30
pages. In addition, this extension will allow the parties and the court additional time to consider
any further changes to the schedule based on New Jersey’s anticipated amended complaint. In any
event, while New Jersey aims to resolve this case expeditiously and was not the party that delayed
its resolution for many months last year, it also seeks a full and fair opportunity to respond to the
FHWA’s ample submission.

        This relief will not prejudice the FHWA or MTA in any way. Despite its remand order,
this Court permitted congestion pricing to proceed, so the program is proceeding during the
remand. Moreover, the deadline for the FHWA and the MTA’s response comments can be
similarly extended from February 28 to March 14. We requested Defendants’ consent to this
request; the FHWA declined and MTA didn’t respond. We appreciate the Court’s consideration.

                                                      Respectfully,

                                                      /s/ Randy M. Mastro
cc: All counsel of record (via ECF)                   Randy M. Mastro
